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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
__________________________________________

JAMES WEST, 89-A-6906,

                           Plaintiff,
                                                           05-CV-447
      -vs.-

DOCCS,

                        Defendants.
__________________________________________

                                  MOTION TO DISMISS


MOTION BY:                                  Defendant New York State Department of
                                            Corrections and Community Supervision
                                            (“DOCCS”)

RELIEF SOUGHT:                              An Order dismissing this case with prejudice
                                            for lack of subject matter jurisdiction
                                            pursuant to FRCP 12 (h)(3).

WHEN RETURNABLE:                            TBD

WHERE RETURNABLE:                           Hon. Frank P. Geraci, Jr.
                                            United States District Court
                                            2 Niagara Square
                                            Buffalo, New York 14202

SUPPORTING PAPERS:                          Memorandum of Law,
                                            Declaration of Denetra D. Roberts


DATED:        January 18, 2018
              Buffalo, New York             ERIC T. SCHNEIDERMAN
                                            Attorney General of the State of New York
                                            Attorneys for Defendant DOCCS
                                            BY:
                                            /s/ Denetra D. Roberts
                                            DENETRA D. ROBERTS
                                            KIM S. MURPHY
                                            Assistant Attorney General of Counsel
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